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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

    SVITLANA DOE, et al.

                         Plaintiffs,

              – v. –                               Civil Action No.: 1:25-cv-10495-IT
    KRISTI NOEM, in her official capacity as
    Secretary of Homeland Security, et al.

                         Defendants.


EMERGENCY MOTION FOR A PRELIMINARY INJUNCTION AND STAY OF DHS’S
    EN MASSE TRUNCATION OF ALL VALID GRANTS OF CHNV PAROLE

         Plaintiffs1 respectfully move for a supplemental preliminary injunction and a stay under

Fed. R. Civ. P. 65(a) and 5 U.S.C. § 705 of Defendants’2 unlawful termination of humanitarian

parole processes for foreign nationals to gain entry to the United States under 8 U.S.C. §

1182(d)(5)(A), most recently through the publication of the Federal Register Notice terminating

the parole processes for Cuba, Haiti, Nicaragua, and Venezuela. Termination of Parole Processes

for Cubans, Haitians, Nicaraguans, and Venezuelans, 90 Fed. Reg. 13611 (Mar. 25, 2025).

         Defendants’ actions are unprecedented, will result in hundreds of thousands of individuals

losing lawful status and work authorization on April 24, 2025, and for the purposes of this motion,

are contrary to law within the meaning of the Administrative Procedure Act. Defendants’ actions



1
 Plaintiffs are 23 individuals and a nonprofit organization (Haitian Bridge Alliance) injured by the
challenged agency actions. See Second Am. Compl., Doc No. 68.
2
  The Defendants are Kristi Noem, in her official capacity as Secretary of Homeland Security;
Todd M. Lyons, in his official capacity as the Acting Director of Immigration and Customs
Enforcement; Pete R. Flores, in his official capacity as Acting Commissioner of U.S. Customs and
Border Protection; Kika Scott, in her official capacity as the Senior Official Performing the Duties
of the Director of U.S. Citizenship and Immigration Services; and Donald J. Trump, in his official
capacity as President of the United States.
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will cause imminent irreparable harm to Plaintiffs Armando Doe, Alejandro Doe, Ana Doe, Carlos

Doe, Andrea Doe, Lucia Doe, Miguel Doe, and Daniel Doe; beneficiaries sponsored by Plaintiffs

Sandra McAnany, Kyle Varner, Wilhen Pierre Victor, Gabriela Doe, and Norma Lorena Dus;

hundreds of thousands of similarly situated CHNV parole beneficiaries here in the United States,

as well as their U.S.-based sponsors; and Haitian Bridge Alliance, which has provided legal and

humanitarian services for thousands of CHNV parole beneficiaries.

       For the reasons set forth above and in the accompanying exhibits and memorandum of law

filed herewith, Plaintiffs respectfully request that the Court enter an order:

   1. Enjoining and restraining the Defendants and their officers, agents, servants, employees,

       attorneys, and all members and persons acting in concert or participation with them under

       Rule 65 and 5 U.S.C. § 705 from the date of the Court’s order, from taking any action to

       implement or enforce Termination of Parole Processes for Cubans, Haitians, Nicaraguans,

       and Venezuelans, 90 Fed. Reg. 13611 (Mar. 25, 2025); and

   2. Requiring Defendants, within three days of the issuance of the Court’s order and then

       weekly thereafter, file a status report with the Court describing in detail all steps taken to

       ensure agency staff are aware of and are in compliance with the Court’s order, along with

       copies of all issued guidance and directives related to the Court’s order.

       A proposed order is attached hereto.

                             REQUEST FOR ORAL ARGUMENT

       Plaintiffs respectfully request an oral argument Pursuant to Local Rule 7.1(d). The Court

has scheduled oral argument on this Motion on April 10. Doc No. 63.




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Dated: March 27, 2025                              Respectfully submitted,

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                       CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

         The plaintiffs, through their counsel, have conferred with the defendants’ counsel

pursuant to Local Rule 7.1(a)(2) regarding the subject matter of the instant motion, and the

parties have not come to a resolution.

Dated: March 27, 2025

                                               /s/ John A. Freedman
                                               John A. Freedman




                                 CERTIFICATE OF SERVICE

         I, John A. Freedman, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).

Dated: March 27, 2025


                                               /s/ John A. Freedman
                                               John A. Freedman




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